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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                     )
 COMMITTEE ON WAYS AND MEANS, UNITED )
 STATES HOUSE OF REPRESENTATIVES,    )
                                     )
      Plaintiff,                     )                           Case No. 1:19-cv-01974-TNM
                                     )
              v.                     )
                                     )
 UNITED STATES DEPARTMENT OF THE     )
 TREASURY, et al.,                   )
                                     )
      Defendants,                    )
                                     )
 DONALD J. TRUMP, et al.,            )
                                     )
      Defendant-Intervenors.         )
                                     )
                                     )

                                 NOTICE OF APPEARANCE

       To the Clerk of the Court and all parties of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case as

counsel for proposed amici curiae Geraldine R. Gennet, Kerry W. Kircher, Irvin B. Nathan,

William Pittard, Thomas J. Spulak, and Charles Tiefer.


                                                   Respectfully submitted,

                                                   /s/ Lawrence S. Robbins
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Dated: September 20, 2019
